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United States Bankruptcy Court
District of Nevada

Inre | Gypsum Resources, LLC Case No.

 

Debtor(s) Chapter 11

 

LIST OF EQUITY SECURITY HOLDERS

Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 

Name and last known address or place of | Security Class Number of Securities Kind of Interest
business of holder

 

James M. Rhodes Dynasty Trust | 48.946% Membership
8912 Spanish Ridge, Suite 200
Las Vegas, NV 89148

James M. Rhodes Dynasty Trust II 48.946% Membership
8912 Spanish Ridge, Suite 200
Las Vegas, NV 89148

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.

‘ Va
‘ we s
Date July 26, 2019 Signature () P22 WZ

James M.Ryfodes, President of Truckee Springs
Holdings, |nc.

 

 

Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

Sheet | of 1 in List of Equity Security Holders
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